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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CV-60825-RAR

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  ROGER J. STONE, et al.,

        Defendants.
  _____________________________________/

                UNOPPOSED MOTION FOR ORDER OF DISMISSAL OF
              DEFENDANT GALLERIA LOFTS, LLC WITHOUT PREJUDICE

         Defendant Galleria Lofts, LLC (“Galleria Lofts”), by the undersigned counsel, submits

  this unopposed Motion For Order of Dismissal of Defendant Galleria Lofts from this action

  without prejudice, and requests that the Court enter an Order accordingly. The parties have

  conferred and the United States do not oppose this motion. No party seeks costs or fees in regards

  to this motion, this lawsuit, and the proposed dismissal.

         1.      The United States alleges in its Complaint that Galleria Lofts “is listed in the

  Declaration of Condominium for the property that includes the Stone Residence,” and is therefore

  “named as a [defendant] pursuant to 26 U.S.C. § 7403(b) as an entity that has or may claim an

  interest in the Stone Residence.” See Compl. ¶ 10.

         2.      In this lawsuit, the United States does not seek any monetary recovery from Galleria

  Lofts. In fact, the United States does not appear to seek any specific relief against Galleria Lofts

  in the Complaint, other than alleging its purported interest pursuant to 26 U.S.C. § 7403(b).

         3.      Galleria Lofts disclaims any interest in the Stone Residence or any funds that may

  be generated from the sale of the Stone Residence.


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         4.     Upon dismissal of Galleria Lofts by the Court, Galleria Lofts and the United States

  agree to bear all of their own fees and costs associated with this motion, this lawsuit, and the

  proposed dismissal.

         WHEREFORE, Galleria Lofts respectfully requests the entry of an Order dismissing

  Galleria Lofts from this action without prejudice and ordering that the Galleria Lofts and the

  United States bear their own fees and costs in connection with this motion, this lawsuit, and the

  proposed dismissal.

  Dated: June 14, 2021.                              Respectfully submitted,

                                                     /s/ Jeffrey B. Pertnoy
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